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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                                                                                   SFP 21 7(1;;
UNITED STATES OF AMERICA
                                                                              U.S. OlS7HICT C[M\T
                                                                             WEST'N. OIST. KENTUCKY
                                                     INDICTMENT
v.
                                             NO.       'Y If C£ -IJ2r t<.
                                                     18 U.S.C. § 1341
                                                     18 U.S.C. § 982(a)(2)


THOMAS P. GIBSON
MICHAEL STEVEN MCDONALD


The Grand Jury alleges:
                                        BACKGROUND

       1.      Eastern Livestock Company, LLC (hereinafter, "Eastern Livestock") is a

Kentucky limited liability company. It was one of the largest cattle brokerage businesses in the

United States until its closure on and around November 2, 2010, processing cattle sales and

operating branch facilities in eleven states, including Kentucky. The compaI)y's principal office

is located in New Albany, Indiana. Defendant, THOMAS P. GIBSON, was an owner of Eastern .

Livestock and manager of the business during all times pertinentto the charges in this

Indictment. Defendant, MICHAEL STEVEN MCDONALD, was employed in an

administrative position with Eastern Livestock. Among the responsibilities assigned to

defendant, MICHAEL STEVEN MCDONALD, was management and oversight of the line of

credit established by Eastern Livestock with Fifth Third Bank on August 9,2004, as described

more fully in paragraph number 3 below.
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        2.     Defendant, THOMAS P. GIBSON, maintained an account in his and his

spouse's name with Your Community Bank.

        3.     In order to facilitate its cattle brokerage business, Eastern Livestock entered into

credit and security agreements with Fifth Third Bank on August 9,2004. Under the terms of

these agreements, Fifth Third Bank extended a revolving line of credit to Eastern Livestock,

initially in the amount of $22,500,000 which the bank secured by receiving security interests in

assets owned by Eastern Livestock, including the company's bank accounts, equipment,

livestock, and accounts receivable. In or about 2008, Wells Fargo came in as a participant in

Fifth Third's loan to Eastern Livestock and the revolving line of credit was increased from $22.5

million to $32,500,000, with Wells Fargo Bank assuming the benefit and liability of $10 million

of the $32.5 million line of credit extended to Eastern Livestock. Accessing funds from this line

of credit on a daily basis was essential to the operation of Eastern Livestock because the monies

were needed by the company to make timely payments for cattle it purchased on a daily basis,

Eastern Livestock purchased, on average, $10 to $20 million worth of cattle every day,

        4.     Under the terms of its credit agreement with Fifth Third Bank, funds were

extended to Eastern Livestock based, in part, on the value of the company's outstanding accounts

receivable, which were reported by Eastern Livestock to the bank on a daily basis through

submission of a Borrowing Base Certificate, Defendant, MICHAEL STEVEN MCDONALD,

at the direction of defendant, THOMAS P. GIBSON, was responsible for causing the

preparation and submission of the Borrowing Base Certificates on a daily basis to Fifth Third

Bank.




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       5.      Under the terms of its credit agreement with Fifth Third Bank, Eastern Livestock

maintained a Cash Collateral Account with the bank, into which the company deposited, on a

daily basis, receipts from operation of its business, which was principally comprised of payments

received from its sale of cattle. Funds deposited into the Cash Collateral Account were

automatically transferred into the company's Line of Credit Account, and used by the bank to

make payments against Eastern Livestock's $32.5 million line of credit. Funds from the

company's line of credit with Fifth Third Bank were swept into operational accounts maintained

by Eastern Livestock and used by the company to conduct its daily cattle brokerage business. The

amount of funds released by Fifth Third Bank from the Eastern Livestock's line of credit

depended, in part, on the amount of money deposited each day by the company into its Cash

Collateral Account. The availability of approximately $10 to $20 million in cash on a daily

basis from its line of credit with Fifth Third Bank was essential to the operation of Eastern

Livestock's cattle brokerage business.

       6.      Under the terms of Eastern Livestock's Line of Credit with Fifth Third Bank, it

was set to expire on October 15, 2010.

                                           COUNT I
                                         (MAIL FRAUD)

       7.      From on or about and between August 9, 2004, and November 2, 2010, in the

Western District of Kentucky, Nelson County, Kentucky, and elsewhere, THOMAS P. GIBSON

and MICHAEL STEVEN MCDONALD, the defendants herein, aided and abetted by one

another and others, known and unknown to the Grand Jury, devised and attempted to devise a

scheme and artifice to defraud Fifth Third Bank and Wells Fargo Bank, both financial institutions



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whose deposits were then and there insured by the Federal Deposit Insurance Corporation, and

cattle sellers to Eastern Livestock, including approximately 200 sellers located in the

Commonwealth of Kentucky, and to obtain money and property from Fifth Third Bank, Wells

Fargo Bank, and cattle sellers to Eastern Livestock, by means of false and fraudulent pretenses

and representations, knowing that the pretenses and representations were false and fraudulent

when made, which scheme is described more fully in paragraphs 8 through 12 below.

                 MANNER AND MEANS OF THE FRAUDULENT SCHEME

       8.      On or about and between the dates indicated in paragraph 7 above, THOMAS P.

GIBSON and MICHAEL STEVEN MCDONALD, the defendants herein, aided and abetted by

one another and others, known and unknown to the Grand Jury, knowingly and intentionally

engaged in a check-kiting scheme by causing billions of dollars of checks issued from various

bank accounts, including defendant THOMAS P. GIBSON'S personal account with Your

Community Bank and bank accounts belonging to agents and business associates of the

defendants, in amounts which exceeded available balances in the affected accounts, causing

artificially inflated balances in Eastern Livestock's Cash Collateral account. The purpose for the

defendants engaging in the check-kiting scheme described above was to induce Fifth Third Bank,

through fraud and deceit, to continue the release of funds to Eastern Livestock under the

company's line of credit with the bank.

       9.      It was further a part of the conspiracy that defendant, MICHAEL STEVEN

MCDONALD, during the time period described in paragraph number 7 above, at the direction

and with the consent of defendant, THOMAS P. GIBSON, knowingly and intentionally

prepared and caused to be prepared and submitted to Fifth Third Bank fraudulent Borrowing


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Base Certificates, which contained falsely inflated accounts receivable figures, consistent with

amounts of check-kiting occurring each day, as described in paragraph number 8 above. The

purpose for the preparation and submission to Fifth Third Bank of false and fraudulent

Borrowing Base Certificates was to fraudulently induce the bank to continue to release funds to

Eastern Livestock under the company's line of credit with the bank.

          10.   Eastern Livestock's line of credit agreement with Fifth Third Bank expired on

October 15, 2010, and was not, thereafter, renewed by the bank. It was further a part of the

defendants' scheme and artifice to defraud that, after the company's line of credit agreement with

Fifth Third Bank expired, the defendants, THOMAS P. GIBSON and MICHAEL STEVEN

MCDONALD, and others known and unknown to the Grand Jury, continued the execution of a

check-kiting scheme against Fifth Third Bank by causing deposits of millions of dollars worth of

checks issued from various bank accounts, including defendant THOMAS P. GIBSON'S

personal account with Your Community Bank, and bank accounts belonging to agents and

business associates of the defendants, in amounts which exceeded available balances in the

affected accounts, into one of Eastern Livestock's operating accounts with Fifth Third Bank,

causing artificially inflated balances in this account, until the account was closed by the bank on

November 2,2010. During time periods when these deposits were being made into one of

Eastern Livestock's operating accounts, the defendants also caused the issuance of millions of

dollars worth of checks from this same account, causing a financial loss to Fifth Third Bank and

others.




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                                             MAILING

        II.     It was further a part of the defendants' scheme and artifice to defraud that the

defendants, THOMAS P. GIBSON and MICHAEL STEVEN MCDONALD, knowingly

caused checks to be drawn in amounts substantially exceeding available funds from business

accounts belonging to agents and associates of the defendants, which checks were, thereafter,

deposited into Eastern Livestock's Cash Collateral and operational accounts with Fifth Third

Bank. The defendants caused these checks to be deposited into Eastern Livestock's Cash

Collateral and operational accounts for the purpose of maintaining the fraudulent check-kiting

scheme described in paragraphs I through 10 above.

        12.      In furtherance of the scheme and artifice to defraud, described in paragraphs I

through II above, and in execution thereof, the defendants, THOMAS P. GIBSON and

MICHAEL STEVEN MCDONALD, caused checks to be issued from Eastern Livestock's

accounts maintained with Fifth Third Bank and delivered by the United States Postal Service

from the offices of Eastern Livestock in New Albany, Indiana, to addresses belonging to agents

and associates of the defendants whose business account checks were used by the defendant in

furtherance of the check-kiting scheme, including two Eastern Livestock checks in the amounts

of $94,374.48 and $98,101.93, which were mailed via the United States Postal Service to a

designated address in Nelson County, Kentucky, on or about September 5, 2008, which violation

affected a financial institution.

        In violation of Title 18, United States Code, Section 1341.




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UNITED STATES v. THOMAS. P. GIBSON and MICHAEL STEVEN MCDONALD

                                                   PENALTIES

Count I:          NM 30 yrs.lSl,OOO,OOOibothINM 5 yrs. Supervised Release
Forfeiture

                                                       NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO
SPECIAL ASSESSMENTS. FINES. RESTITUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count ofa conviction of offenses
committed after November II, 1984, as follows:

         Misdemeanor:      S 25 per count/individual             Felony:   SIOO per count/individual
                           S125 per count/other                            S400 per count/other



[n addition to any ofthe above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless
the court issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the
United States Attorney's Office with a current mailing address for the entire period that any part of the fine remains
unpaid, or you may be held in contempt of court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

         I. INTEREST and PENALTIES as applicable by law according to last date of offense.

                  For offenses occurring after December 12. 1987:

                  No INTEREST will accrue on fines under S2,500.00.

                  INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate
                  in effect at the time of sentencing. This rate changes monthly. Interest accrues
                  from the first business day following the two week period after the date a fine is
                  imposed.

                  PENALTIES of:

                  10% affine balance if payment more than 30 days late.

                  15% affine balance if payment more than 90 days late.

         2.       Recordation of a LIEN shall have the same force and effect as a tax lien.

         3.       Continuous GARNISHMENT may apply until your fine is paid.

         18 U.S.C. §§ 3612, 3613
         [fyou WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE of not more than
         the greater of SIO,OOO or twice the unpaid balance of the fine; or IMPRISONMENT for not more than I year
         or both. 18U.S.C.§3615
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RESTITUTION

If you are convicted ofan offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to
make restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. §
3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shaIl require:

         I.        That you deposit the entire fine amount (or the amount due under an installment
                   schedule during the time of your appeal) in an escrow account with the U.S. District
                   Court Clerk, or

         2.        Give bond for payment thereof.

         18 U.S.C. § 3572(g)


PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be
made payable to the Clerk. U.S. District Court and delivered to the appropriate division office listed below:

                   LOUISVILLE:                  Clerk, U.S. District Court
                                                106 Gene Snyder U.S. Courthouse
                                                601 West Broadway
                                                Louisville, KY 40202
                                                502/625-3500

                   BOWLING GREEN:               Clerk, U.S. District Court
                                                120 Federal Building
                                                241 East Main Street
                                                Bowling Green, KY 42101
                                                270/393-2500

                   OWENSBORO:                   Clerk, U.S. District Court
                                                126 Federal Building
                                                423 Frederica
                                                Owensboro, KY 42301
                                                270/689-4400

                   PADUCAH:                     Clerk, U.S. District Court
                                                127 Federal Building
                                                501 Broadway
                                                Paducah, KY 42001
                                                270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
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                 No.

                   UNITED STATES DISTRICT COURT
                                Western District of Kentucky
                                    Louisville Division

                          THE UNITED STATES OF AMERICA
                                                 YS.
                                                                                  fB"fD
                                                                             VANESSA L.I\RMSn\ONO, OLE K
                                     THOMAS P. GIBSON
                                                                                 SEP 2 1 ?nl1
                               MICHAEL STEVEN MCDONALD
                                                                             u.s. DISTRICT COURT
                                                                            WEST'N. DIST. KENTUC
                                      INDICTMENT

                Title 18 U.S.c. § 1341:
                Mail Fraud.


                A true bill.


                                                                  Foreman

                Filed in open court this 21st day, September A.D. 2011.


                                                                  Clerk

                Bail, $
